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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

UNITED STATES OF AMERICA                                                                PLAINTIFF

v.                                  NO. 4:11CR00290-01 JLH

CLAUDIA SUAREZ                                                                       DEFENDANT

                                             ORDER

       At the conclusion of the sentencing hearing of Claudia Suarez, her lawyer, Nathan J. Mays,

asked on behalf of Ms. Suarez that the Court direct the Clerk to prepare a notice of appeal for her.

Mr. Mays stated that he could not represent Ms. Suarez on appeal because he is not admitted to

practice before the United States Court of Appeals for the Eighth Circuit, and he moved on her behalf

for appointment of counsel on appeal. Ms. Suarez has completed an application to proceed without

prepayment of fees and an affidavit in support thereof, which has been filed. The application to

proceed without prepayment of fees is granted.

       The Court therefore orders the Clerk of Court to prepare a notice of appeal on behalf of

Claudia Suarez and to forward her application to proceed without prepayment of fees and affidavit

to the United States Court of Appeals for the Eighth Circuit, along with a copy of this Order, as a

request for appointment of counsel on appeal.        Mr. Mays is hereby relieved as counsel for

Ms. Suarez.

       IT IS SO ORDERED this 15th day of July, 2013.



                                                      _________________________________
                                                      J. LEON HOLMES
                                                      UNITED STATES DISTRICT JUDGE
